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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

____________________________________
                                    :
FTE NETWORKS, INC.                  :
                                    :
            Plaintiff,              :
                                    :
v.                                  :                 Case No. 1:22-cv-00785-UNA
                                    :
ALEXANDER SZKARADEK, et al.         :
                                    :
            Defendants.             :
                                    :
____________________________________

               PROPOSED ORDER GRANTING MOTION TO INTERVENE

        Upon consideration of the Motion to Intervene filed by First Capital Real Estate Trust,

Inc. to intervene as a Defendant in this action and any opposition thereto, it is hereby

        ORDERED that the motion is GRANTED; and it is further

        ORDERED that the Intervenor Defendant may intervene in this matter pursuant to Fed.

R. Civ. P. 24; and it is further

        ORDERED that the Intervenor Defendant shall file its Answer to the Complaint within

10 days of the date of this Order.




Dated:___________, 2022                       _________________________________________
                                                                              Norieka, J.




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